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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                      MARSHALL DIVISION

    NETLIST, INC.,                                  §
                                                    §
                Plaintiff,                          §
                                                    §
    v.                                              §      CIVIL ACTION NO. 2:22-CV-00203-JRG-RSP
                                                    §
    MICRON TECHNOLOGY, INC.,                        §
    MICRON SEMICONDUCTOR                            §
    PRODUCTS, INC., MICRON                          §
    TECHNOLOGY TEXAS LLC,                           §
                                                    §
                Defendants.                         §

                                CLAIM CONSTRUCTION ORDER

          Netlist, Inc., asserts claims from six patents relating to computer memory against Micron

   Technology, Inc., Micron Semiconductor Products, Inc., and Micron Technology Texas LLC

   (together, “Micron”). U.S. Patent 10,949,339, entitled “Memory Module with Controlled Byte-

   Wise Buffers,” relates to improving the performance and memory capacity of memory subsystems.

   ’339 Patent at 1:18–23. U.S. Patent 10,860,506, entitled “Memory Module With Timing-

   Controlled Data Buffering,” generally concerns “multi-rank memory modules and methods of

   operation.” ’506 Patent at 1:37–39. U.S. Patents 11,016,918 and 11,232,054, which are related and

   share a common specification, concern computer memory devices that use different types of

   memory. ’918 Patent at 1:66–2:2; see also ’054 Patent at 1:66–2:2. Finally, U.S. Patents 8,787,060

   and 9,318,160, which are related and share a common specification, concern “systems and methods

   for reducing the load of drivers of memory packages included on memory modules.” ’060 Patent

   at 1:19–21; see also ’160 Patent at 1:21–23.




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          The parties dispute the proper constructions of 17 terms from the patents, six of which were

   previously construed by this Court in Netlist v. Samsung, No. 2:21-CV-00463-JRG (Samsung I).

   See generally Cl. Constr. Order, Dkt. No. 98-7. Having considered the parties’ briefing, along with

   arguments of counsel during a July 26, 2023 hearing, the Court resolves the disputes as follows.

   I.     LEGAL STANDARDS

          A.      Generally

          “‘[T]he claims of a patent define the invention to which the patentee is entitled the right to

   exclude.’” Phillips v. AWH Corp., 415 F.3d 1303, 1312 (Fed. Cir. 2005) (en banc) (quoting

   Innova/Pure-Water, Inc. v. Safari Water Filtration Sys., Inc., 381 F.3d 1111, 1115 (Fed. Cir. 2004)).

   As such, if the parties dispute the scope of the claims, the court must determine their meaning. See,

   e.g., Verizon Servs. Corp. v. Vonage Holdings Corp., 503 F.3d 1295, 1317 (Fed. Cir. 2007); see

   also Markman v. Westview Instruments, Inc., 517 U.S. 370, 390 (1996), aff’g, 52 F.3d 967, 976

   (Fed. Cir. 1995) (en banc).

          Claim construction, however, “is not an obligatory exercise in redundancy.” U.S. Surgical

   Corp. v. Ethicon, Inc., 103 F.3d 1554, 1568 (Fed. Cir. 1997). Rather, “[c]laim construction is a

   matter of [resolving] disputed meanings and technical scope, to clarify and when necessary to

   explain what the patentee covered by the claims . . . .” Id. A court need not “repeat or restate every

   claim term in order to comply with the ruling that claim construction is for the court.” Id.

          When construing claims, “[t]here is a heavy presumption that claim terms are to be given

   their ordinary and customary meaning.” Aventis Pharm. Inc. v. Amino Chems. Ltd., 715 F.3d 1363,

   1373 (Fed. Cir. 2013) (citing Phillips, 415 F.3d at 1312–13). Courts must therefore “look to the

   words of the claims themselves . . . to define the scope of the patented invention.” Id. (citations

   omitted). “[T]he ordinary and customary meaning of a claim term is the meaning that the term




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   would have to a person of ordinary skill in the art in question at the time of the invention, i.e., as

   of the effective filing date of the patent application.” Phillips, 415 F.3d at 1313. This “person of

   ordinary skill in the art is deemed to read the claim term not only in the context of the particular

   claim in which the disputed term appears, but in the context of the entire patent, including the

   specification.” Id.

          Intrinsic evidence is the primary resource for claim construction. See Power-One, Inc. v.

   Artesyn Techs., Inc., 599 F.3d 1343, 1348 (Fed. Cir. 2010) (citing Phillips, 415 F.3d at 1312). For

   certain claim terms, “the ordinary meaning of claim language as understood by a person of skill in

   the art may be readily apparent even to lay judges, and claim construction in such cases involves

   little more than the application of the widely accepted meaning of commonly understood words.”

   Phillips, 415 F.3d at 1314; see also Medrad, Inc. v. MRI Devices Corp., 401 F.3d 1313, 1319 (Fed.

   Cir. 2005) (“We cannot look at the ordinary meaning of the term . . . in a vacuum. Rather, we must

   look at the ordinary meaning in the context of the written description and the prosecution history.”).

   But for claim terms with less-apparent meanings, courts consider “‘those sources available to the

   public that show what a person of skill in the art would have understood disputed claim language

   to mean[,] [including] the words of the claims themselves, the remainder of the specification, the

   prosecution history, and extrinsic evidence concerning relevant scientific principles, the meaning

   of technical terms, and the state of the art.’” Phillips, 415 F.3d at 1314 (quoting Innova, 381 F.3d

   at 1116).

          B.      Means-Plus-Function Claiming

          A patent claim may be expressed using functional language. See 35 U.S.C. § 112 ¶ 6 (pre-

   AIA); Williamson v. Citrix Online, LLC, 792 F.3d 1339, 1347–49 & n.3 (Fed. Cir. 2015) (en banc

   in relevant portion). Under 35 U.S.C. § 112 ¶ 6, a structure may be claimed as a “means . . . for




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   performing a specified function,” and an act may be claimed as a “step for performing a specified

   function.” Masco Corp. v. United States, 303 F.3d 1316, 1326 (Fed. Cir. 2002). When it applies,

   § 112 ¶ 6 limits the scope of the functional term “to only the structure, materials, or acts described

   in the specification as corresponding to the claimed function and equivalents thereof.” Williamson,

   792 F.3d at 1347.

          But § 112 ¶ 6 does not apply to all functional claim language. There is a rebuttable

   presumption that § 112 ¶ 6 applies when the claim language includes “means” or “step for” terms,

   and a rebuttable presumption it does not apply in the absence of those terms. Masco Corp., 303

   F.3d at 1326; Williamson, 792 F.3d at 1348. These presumptions stand or fall according to whether

   one of ordinary skill in the art would understand the claim with the functional language, in the

   context of the entire specification, to denote sufficiently definite structure or acts for performing

   the function. See Media Rights Techs., Inc. v. Capital One Fin. Corp., 800 F.3d 1366, 1372 (Fed.

   Cir. 2015) (noting § 112 ¶ 6 does not apply when “the claim language, read in light of the

   specification, recites sufficiently definite structure” (quotation marks omitted) (citing Williamson,

   792 F.3d at 1349; Robert Bosch, LLC v. Snap-On Inc., 769 F.3d 1094, 1099 (Fed. Cir. 2014)));

   Williamson, 792 F.3d at 1349 (noting § 112 ¶ 6 does not apply when “the words of the claim are

   understood by persons of ordinary skill in the art to have sufficiently definite meaning as the name

   for structure”); Masco Corp., 303 F.3d at 1326 (noting § 112 ¶ 6 does not apply when the claim

   includes an “act” corresponding to “how the function is performed”); Personalized Media

   Commc’ns, LLC v. I.T.C., 161 F.3d 696, 704 (Fed. Cir. 1998) (noting § 112 ¶ 6 does not apply when

   the claim includes “sufficient structure, material, or acts within the claim itself to perform entirely

   the recited function . . . even if the claim uses the term ‘means.’” (quotation marks and citation




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   omitted)). See also Williamson, 792 F.3d at 1350 (noting “‘[m]odule’ is a well-known nonce word

   that can operate as a substitute for ‘means’ in the context of § 112, para. 6”).

          C.      Indefiniteness

          “[A] patent is invalid for indefiniteness if its claims, read in light of the specification

   delineating the patent, and the prosecution history, fail to inform, with reasonable certainty, those

   skilled in the art about the scope of the invention.” Nautilus, Inc. v. Biosig Instruments, Inc., 572

   U.S. 898, 901 (2014). The claims “must be precise enough to afford clear notice of what is

   claimed,” but that consideration must be made while accounting for the inherent limitations of

   language. Id. at 908.

          “Indefiniteness must be proven by clear and convincing evidence.” Sonix Tech. Co. v.

   Publ’ns Int’l, Ltd., 844 F.3d 1370, 1377 (Fed. Cir. 2017). And in the context of § 112 ¶ 6, “[t]he

   party alleging that the specification fails to disclose sufficient corresponding structure must make

   that showing by clear and convincing evidence.” TecSec, Inc. v. IBM, 731 F.3d 1336, 1349 (Fed.

   Cir. 2013) (quoting Budde v. Harley-Davidson, Inc., 250 F.3d 1369, 1380–81 (Fed. Cir. 2001)).

   II.    THE LEVEL OF ORDINARY SKILL IN THE ART

          The level of ordinary skill in the art is the skill level of a hypothetical person who is

   presumed to have known the relevant art at the time of the invention. In re GPAC, 57 F.3d 1573,

   1579 (Fed. Cir. 1995). In resolving the appropriate level of ordinary skill, courts consider the types

   of and solutions to problems encountered in the art, the speed of innovation, the sophistication of

   the technology, and the education of workers active in the field. Id. Importantly, “[a] person of

   ordinary skill in the art is also a person of ordinary creativity, not an automaton.” KSR Int’l Co. v.

   Teleflex Inc., 550 U.S. 398, 421 (2007).




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             Here, neither party proffers a level of ordinary skill in the art in its briefing. Micron’s

   expert, however, asserts:

             a POSITA in the field of the ’060 and ’160 patents at the time of the claimed
             inventions . . . would have had . . . an advanced degree in electrical or computer
             engineering, or a related field, and two years working or studying in the field of
             design or development of memory systems, or a bachelor’s degree in such
             engineering disciplines and at least three years working in the field.

   Stone Decl., Dkt. No. 97-9 ¶ 23. He asserts an identical skill level for the ’918 and ’054 Patents.

   Id. ¶ 25. In a decision concerning a patent related to the ’506 Patent, the PTAB used a modified

   version of this skill level, which the Court now adopts: “a person of ordinary skill in the art would

   have been a person with an advanced degree in electrical or computer engineering and two years

   working in the field, or a bachelor’s degree in such engineering disciplines and three years working

   in the field.” See Final Written Decision (IPR2022-00236), Dkt. No. 109-7 at 8.

   III.      U.S. PATENTS 8,787,060 AND 9,318,160

             These related patents concern “systems and methods for reducing the load of drivers of

   memory packages included on memory modules.” ’060 Patent at 1:19–21. They describe prior-art

   memory devices in which one driver drives signals along a die interconnect connected to all array

   dies 1 of the device. See id. at 1:30–2:15. If the control die includes multiple drivers, each of those

   drivers is connected to all array dies of the device. See id. at fig.1B (showing drivers 184, 186 each

   connected to all four array dies 160).




   1
       Generally, an array die is an array of memory circuits in a single piece of silicon.



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          These patents address that problem by connecting a driver to less than all the array dies in

   a package. For example, in Figure 2 (below), one driver is connected to a data conduit 232a that

   interconnects only with array dies 210a, 210b. A different driver is connected to data conduit 232b,

   which connects only with array dies 210c, 210d.




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          The parties have three disputes concerning these two patents. First, they dispute the scope

   of “electrical communication” in the claims of both patents. Second, they dispute whether “driver

   size” in Claim 1 of the ’160 Patent refers to a physical size or to electrical strength. Finally, Micron

   challenges Claim 7 of the ’060 Patent as an indefinite mixed-class claim.

          A.      “electrical communication” (’060 Patent, Claims 1, 11, 20, 29; ’160 Patent,
                  Claim 1)

               Netlist’s Construction                              Micron’s Construction
                                                     Plain and ordinary meaning, i.e., does not require
                                                     importing “data ports” limitation into the claim
   Plain and ordinary meaning, that is,
                                                     to require electrical communications (or lack of
   “electrical communication” is different from
                                                     electrical communications) between the die
   “electrical connection”
                                                     interconnect(s) and the data ports of the array
                                                     die(s).

           The relevant claims generally recite first die interconnects in “electrical communication”

   with a first group of array dies, and second die interconnects in “electrical communication” with a

   second group of array dies. For example, the third limitation of Claim 1 of the ’060 Patent recites:

                  at least a first die interconnect and a second die interconnect, the
                      first die interconnect in electrical communication with the first
                      group of array dies and not in electrical communication with the
                      second group of at least one array die, the second die
                      interconnect in electrical communication with the second group
                      of at least one array die and not in electrical communication with
                      the first group of array dies[.]

   ’060 Patent at 23:65–24:5 (emphasis added); see also ’160 Patent at 23:51–58.

           The parties present two disputes about “electrical communication.” First, according to

   Netlist, “an ‘electrical connection’ may exist without resulting in any ‘electrical communication’

   between the die interconnect(s) and array die(s) by not ‘provid[ing] electrical communication with

   the memory cells of the array die.’” Dkt. No. 97 at 3 (quoting ’060 Patent at 8:53–62). Or put




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   another way, “a die is ‘not in electrical communication’ when it is not responsive to the data signal

   being transmitted by the die interconnect.’” Id. (quoting ’060 Patent at 8:42–44).

           Micron agrees “electrical communication” and “electrical connection” “have somewhat

   different and somewhat overlapping meanings,” Dkt. No. 109 at 2, but does not elaborate on that

   position. Instead, Micron focuses on whether “electrical communication” requires importing

   limitations of “data ports” or “responsiveness.” Id. It suggests Netlist previously argued (in

   Samsung I) the claim should be interpreted to mean “electrical communication with the data ports

   of the group of array dies.” Id. at 2. It also notes Netlist’s opening position that “a die is ‘not in

   electrical communication’ when it is not responsive to the data signal being transmitted by the die

   interconnect.’” 2 Id. (quoting Dkt. No. 97 at 3).

          Netlist replies that, despite Micron’s apparent agreement these terms have different scope,

   Micron’s expert testified otherwise. Dkt. No. 110 at 1. Netlist also stresses it treated a die

   interconnect as in “electrical communication” with an array die even when the array die’s data port

   was disabled, and thus without regard to “responsiveness.” See Dkt. No. 110 at 2.

                  1.      The scope of “electrical communication” and “electrical connection”

          The specification makes clear that these terms have different scope. For one, electrical

   communication must be “enabled” and may be “prevented”:

          [T]he die interconnects 220 may use via holes to pass through an array die that is
          not configured to be in electrical communication with the die interconnect. For
          instance, die interconnect 220b may pass through array dies 210a and 210b using
          TSVs that do not enable electrical communication between the die interconnect
          220b and data ports of the array dies 210a and 210b . . . . In cases where the die
          interconnect passes through an array die that is not configured to be in electrical


   2
     Micron’s original construction did not reference “responsiveness.” It added “or responsiveness”
   to its proposed construction based on Netlist’s opening brief. See Dkt. No. 109 at 2 n.2.




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       communication with the die interconnect, the TSV may include an insulator or an
       air gap between the die interconnect and the array die circuitry that is large enough
       to prevent electrical communication between the die interconnect and the array die
       circuitry. . . .

’060 Patent at 8:35–33 (emphasis added); see also id. at 5:41–45 (“Each of the array die 210 may

include one or more data ports . . . . The data ports enable electrical communication and data

transfer between the corresponding memory circuitry of the array dies 210 and a communication

path way (e.g., a die interconnect).” (emphasis added)). Similarly, the specification expressly

distinguishes between “electrical connections” and electrical communication, explaining

       electrical connections leading from the TSV of the array dies that are not
       configured to be in electrical communication with the die interconnect may not
       exist or may be stubs. These stubs are not configured to provide electrical
       communication with the memory cells of the array die.

’060 Patent at 8:57–63 (emphasis added). All of these uses of “communication” comport with the

ordinary    meaning      of    the    term    as    an     act.   See,     e.g.,   communication,

https://www.yourdictionary.com/communication (“[t]he act of transmitting”; “a giving or

exchanging of information, signals, or messages as by talk, gestures, or writing”).

       Micron makes no real argument in opposition, but simply claims “Netlist has not identified

any reason” for the Court to construe the claim. Dkt. No. 109 at 2. But given the testimony of

Micron’s expert, see Dkt. No. 110 at 1, 3 a dispute about scope exists and must be resolved.

Considering the specification’s use of the term, the Court agrees the plain and ordinary meaning

of “electrical communication” is different from “electrical connection.”


3
  Samsung I Trial Tr., Dkt. No. 110-2 at 95 (“Is it your testimony that the connection between a
TSV and a stub is electrical communication? A. Yeah. This demonstrates it, because the wave
travels on that. Q. Okay. What does the word “electrical communication” mean to you? A. Elec-
trical connection. That’s -- I got that from the patent. I can show you where he says that.”).




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                2.      The alleged importation by Netlist of “data port” and “responsiveness”

        Concerning “data ports,” Micron points to Netlist’s trial argument during Samsung I that,

“if it doesn’t hook up to the data port, it means there is no electrical communication; whereas,

above that, if there is a data port present, then we will have that electrical communication.” Dkt.

No. 109 at 2 (quoting Samsung I Trial Tr., Dkt. No. 109-2 at 314:13–17). Although Micron argues

this is an attempt to import a “data port” limitation into the claims, considered in the proper context,

this is simply an infringement argument by Netlist rather than a dispute about scope. That said, if

Netlist’s position is the mere presence of “data ports” is enough to meet the “electrical

communication” requirement for the purpose of determining infringement or invalidity, the Court

agrees with Micron that is improper.

       Regarding “responsiveness,” Netlist appears to agree that responsiveness is not required

for electrical communication. Specifically, it notes its prior position that “signals received by the

input stage of the receiver” are sufficient to meet the limitation, without regard to responsiveness.

See Dkt. No. 110 at 2. Accordingly, the Court sees no dispute to resolve.

       Based on the foregoing, the Court agrees with Netlist that “electrical communication” is

different from “electrical connection.” The Court also agrees with Micron that the existence of

data ports, without more, does not satisfy the “electrical communication” requirement in the

claims. With this guidance, however, the Court will give this term a “plain and ordinary meaning”

construction.




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        B.      “the second driver size being different from the first driver size” (’160 Patent,
                Claim 1)

             Netlist’s Construction                            Micron’s Construction
Plain and ordinary meaning, that is, “the size     “the physical dimensions of the second driver
of the second driver being different from the      being different from the physical dimensions of
size of the first driver”                          the first driver”

        Claim 1 recites “first drivers each having a first driver size,” “second drivers each having

a second driver size,” and “the second driver size being different from the first driver size.” ’160

Patent at 23:62–24:3. The parties dispute whether “driver size” refers to the physical dimensions

of the driver or its “strength.”

        Collectively, the parties point to the following excerpts from the patents:

        •       “The size of the driver may be adjusted by the selection of the transistor size and/or
                number of transistors included in the driver.” ’160 Patent at 17:31–33.

        •       “Generally, a load exists on each of the drivers 134, 140, 184, and 186 by virtue of
                the drivers being in electrical communication with the corresponding die
                interconnects and the corresponding circuitry of the array dies. Thus, to drive a
                signal along a die interconnect, a driver typically must be large enough to overcome
                the load on the driver. However, generally a larger driver not only consumes more
                space on the control die, but also consumes more power.” Id. at 2:10–17 (emphasis
                added).

        •       “[C]ertain embodiments of the present disclosure enable a reduction in the load of
                the conduits 332. Consequently, in some embodiments, the drivers 334 may each
                be smaller than a single driver that is configured to drive a signal from a conduit
                along a single die interconnect that is in electrical communication with a port from
                each of the array dies 310. Moreover, the drivers 334 may include smaller
                transistor sizes than a single driver that is configured to drive a signal to each of
                the array dies 110.” Id. at 13:13–26.

Micron also proffers the declaration of its expert, who explains “driver size and driver strength are

distinct engineering concepts.” Stone Decl., Dkt. No. 97-9 ¶ 44.




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         The Court agrees “size” refers to physical dimensions. Micron presents unrebutted expert

testimony on that point. Netlist, on the other hand, presents no argument that “driver size” refers

to something other than physical dimensions, but instead asks a series of hypothetical questions

about Micron’s proposed construction. See Dkt. No. 97 at 4. Third, the specification links driver

size to physical dimensions. ’160 Patent at 2:10–17 (noting that “to drive a signal along a die

interconnect, a driver typically must be large enough to overcome the load on the driver. However,

generally a larger driver not only consumes more space on the control die, but also consumes more

power.”).

         Netlist’s best “evidence” appears to be Micron’s argument in an IPR proceeding that “a

POSITA would have been motivated by Wyman . . . to use drivers of different strengths (i.e., ‘first

drivers’ having a ‘first driver size’ and ‘second drivers’ having a ‘second driver size’) . . . .” Dkt.

No. 97 at 4 (quoting Petition, Dkt. No. 97-12 at 48). Netlist then cites the pre-IPR case Amgen Inc.

v. Hoechst Marion Roussel, Inc., 314 F.3d 1313, 1330 (Fed. Cir. 2003), for the proposition that

“claims are construed the same way for both validity and infringement” Id. The Court agrees, but

Netlist cites no authority preventing an accused infringer from making one argument before the

PTAB and another before a district court. Regardless, even in the Petition, Micron distinguishes

between driver size and driver strength. See Petition, Dkt. No. 97-12 at 48–49 (citing to EX1030

as “disclosing different-sized transistors to achieve different driver strengths”). Because the weight

of the evidence supports Micron’s position, the Court construes “driver size” as “driver physical

size.”

         C.     Indefiniteness of Claim 7 of the ’060 Patent as Mixed-Class Claim

         Claim 7, which depends from Claim 1, recites:




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               wherein a first number of array dies in the first group of array dies
                  and a second number of at least one array die in the second group
                  of at least one array die are selected in consideration of a load of
                  the first die interconnect and a load of the second die
                  interconnect so as to reduce a difference between a first load on
                  the first data conduit and a second load on the second data
                  conduit . . . .

’060 Patent at 24:37–47. Relying on IPXL Holdings, LLC v. Amazon.com, Inc., 430 F.3d 1377

(Fed. Cir. 2005), Micron argues this term is “broad enough to encompass a user selecting array

dies in consideration of the recited loads.” Dkt. No. 109 at 5. Moreover, says Micron, “the

specification is replete with examples of programming memory modules in various ways.” Id.

(citing ’060 Patent at 19:13–14, 18:67–19:1, 22:28, 23:33–45). Micron stresses the language in

question “contains no indication whether the array die are selected during manufacturing or when

programming the memory module to operate in various ways.” Id. at 6.

       In IPXL Holdings, Claim 1 recited “[a]n electronic financial transaction system”

comprising “an input mechanism for providing input to a processor.” IPXL Holdings, 430 F.3d at

1384. Claim 25, which indirectly depended from Claim 1, recited “the user uses the input

[mechanism] to either change the predicted transaction information or accept the displayed

transaction type and transaction parameters.” Id. The court concluded “that, as a result of the

combination of two separate statutory classes of invention, a manufacturer or seller of the claimed

apparatus would not know from the claim whether it might also be liable for contributory

infringement because a buyer or user of the apparatus later performs the claimed method of using

the apparatus.” Id. That conclusion “was based on the lack of clarity as to when the mixed subject

matter claim would be infringed.” Microprocessor Enhancement Corp. v. Texas Instruments Inc.,

520 F.3d 1367, 1374 (Fed. Cir. 2008).




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        Two other often-cited cases address the same issue—In re Katz Interactive Call Processing

Patent Litig., 639 F.3d 1303 (Fed. Cir. 2011), and H-W Tech., L.C. v. Overstock.com, Inc., 758 F.3d

1329 (Fed. Cir. 2014). In In re Katz, Judge Bryson wrote:

        Claims 1, 2, and 83 of the [patent at issue] cover a system with an “interface means
        for providing automated voice messages . . . to certain of said individual callers,
        wherein said certain of said individual callers digitally enter data.” The district court
        found “no meaningful distinction” between those claims and the claim at issue in
        IPXL.
        Katz seeks to distinguish IPXL on the ground that the term “wherein” does not
        signify a method step but instead defines a functional capability. We disagree and
        uphold the district court’s ruling. Like the language used in the claim at issue in
        IPXL (“wherein . . . the user uses”), the language used in Katz’s claims
        (“wherein . . . callers     digitally    enter    data”    and    “wherein . . . callers
        provide . . . data”) is directed to user actions, not system capabilities.

In re Katz, 639 F.3d at 1318. As in IPXL, the claim language was written in active voice such that

there was no question about who was using (the user), entering data (callers), or providing data

(callers).

        The patent at issue in H-W Technology recited “[a] tangible computer readable medium

encoded with computer program . . . comprising the steps of:”

                    wherein said user completes a transaction with at least one of
                       said merchants listed without the need to generate a voice
                       call;
                    wherein said information received by said user comprises a
                       variety of offers, wherein said user selects one of said variety
                       of offers associated with said one of said merchants listed,
                       wherein said selected offer is transmitted to said one of said
                       merchants listed electronically . . . .

H-W Tech., 758 F.3d at 1335 (emphasis added). The court concluded “the disputed language

(‘wherein said user completes . . .’ and ‘wherein said user selects . . .’) is nearly identical to the




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disputed language in [IPXL and In re Katz]. And, as in those cases, it is unclear here when

infringement would occur.” Id. at 1336 (holding the claim indefinite).

       The Court sees no such lack of clarity here, and holds the claim is not indefinite as a mixed-

class claim. The claim is clearly directed to a “memory package” and, unlike the language in IPXL,

In re Katz, and H-W Technology, the claim does not introduce the notion of a “user.” While the

passive-voice nature of the “selected” language might be grammatically broad enough to cover

selection by a person, Micron proffers no reason, nor can the Court imagine, why a skilled artisan

would read an apparatus claim that way.

IV.    U.S. PATENT 10,860,506

       A.      “one or more previous operations” (’506 Patent, Claims 1–3, 11, 15, 16)

            Netlist’s Construction                            Micron’s Construction
                                                  “one or more previous memory operations”
“one or more previous memory operations”          where “memory operations” are different from
                                                  “leveling operations”

       The parties agree that “one or more previous operations” in these claims means “one or

more previous memory operations.” Dkt. No. 97 at 7; Dkt. No. 109 at 6. They disagree, however,

as to whether “memory operations” includes “leveling operations,” which are operations that

       adjust a write timing or a read timing in consideration of a propagation time of a
       signal. For example, in a write operation, “[b]ecause it takes a certain amount of
       propagation time until the data strobe signal DQS reaches the memory chip 200,
       input timings of the clock signal CK and the data strobe signal DQS are not always
       the same on the memory chip 200 side. To compensate for that, [a] write leveling
       circuit [may change] an output timing of the data strobe signal DQS. . . . [R]ead
       leveling operation also adjusts signal timing for a read operation.

Final Written Decision (IPR2022-00236), Dkt. No. 109-7 at 13–14 (citing and quoting U.S.

Published Appl’n 2010/0312925A1 (Osanai); citations omitted).




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       Contending “leveling operations” are not included in “memory operations,” Micron argues

prosecution-history disavowal. Specifically, Micron points to Netlist’s arguments in IPR2022-

00236 for U.S Patent 9,824,035, which shares a common disclosure with the ’506 Patent. Dkt. No.

109 at 6–7; see also ’506 Patent at [63] (noting the patent is a “grandchild” of the ’035 Patent).

Netlist argues the scope of any disclaimer is limited to a specific write-leveling technique discussed

in a certain standard. Dkt. No. 97 at 8.

       Since Netlist filed its opening brief, the PTAB issued its Final Written Decision, which

recaps the entire proceeding nicely. The term at issue was “obtain timing information based on one

or more signals received by each respective buffer circuit during a second memory operation prior

to the first memory operation.” See Final Written Decision, Dkt. No. 109-7 at 19. Micron argued

the combination of two references, Osanai and Tokuhiro teach this limitation. Id. More specifically,

Micron relied on Tokuhiro’s disclosure of a delay unit that obtains a first delay time during a write

leveling operation to meet the “second memory operation” and its calculation of a second delay

time used for a read operation as the “first memory operation.” Id.

       In response, Netlist argued Tokuhiro’s write-leveling function does not teach the recited

“second memory operation” because during that function, no memory operations can be performed

at all. Id. at 21. Netlist essentially argued Tokuhiro does not disclose memory operation because,

during the write-leveling process of Tokuhiro, no commands instruct the memory to do anything

at all. Id. at 28. That is, none of the commands that are issued during write leveling mode are

“memory operations” under a plain and ordinary meaning of the term. Id.

       The Board rejected this argument, concluding Tokuhiro’s write-leveling function discloses

the “second memory operation.” The Board reasoned “the ’035 Patent describes memory

operations fairly broadly.” Id. at 31 (citing ‘035 Patent at 3:27–32 (“[t]he memory module is




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operable to perform memory operations in response to memory commands (e.g. read, write,

refresh, precharge, etc.), each of which is represented by a set of control/address (C/A) signals

transmitted by the memory controller to the memory module”). Moreover, the Board called

Netlist’s argument largely conclusory and noted it only referred back to arguments showing that

no other memory operations are performed during write leveling rather than showing write

leveling itself is not a memory operation. Id. at 33.

       While this background is helpful, most importantly the Board rejected the allegedly

disclaiming position. And although neither party cites authority for the proposition that for a

statement to be disclaimer the patent must be granted (in the context of examination) or maintained

(in the context of an IPR), Netlist takes that position and Micron implicitly agrees). See Dkt. No.

110 at 4 (“The Board did not agree with Netlist that write leveling is not a memory operation.”);

Micron’s Proposed Constructions & Identification of Supporting Evid., Dkt. No. 69-2 at 4

(“Micron is making this argument only to the extent that Netlist is successful in IPR2022-00236

or IPR2023-00205 where Netlist argued that level is not a memory operation.”); Dkt. No. 109 at 7

n.3 (noting the PTAB issued its final written decision after Netlist filed its opening brief, Netlist

has not indicated whether it will appeal, and the resolution of any appeal may impact claim

construction in this proceeding). Thus, because the allegedly disclaiming statements did not

maintain the claim at issue, the Court concludes there is no disclaimer. See Aylus Networks, Inc. v.

Apple Inc., 856 F.3d 1353, 1360 (“Extending the prosecution disclaimer doctrine to IPR

proceedings will ensure that claims are not argued one way in order to maintain their patentability

and in a different way against accused infringers.”). Otherwise, the Court adopts the language

agreed to by the parties: “one or more previous memory operations.”




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       B.      “determining” (’506 Patent, Claim 14)

            Netlist’s Construction                               Micron’s Construction
The step of “determining the first                   “during one or more previous memory
predetermined amount based as least on               operations, determining the first predetermined
signals received by the first data buffer”           amount based at least on signals received by the
occurs before the earlier recited step of            first data buffer” where “memory operations”
“receiving . . . input C/A signals”                  are different from leveling operations

       This is another “IPR prosecution statement” dispute that depends on similar language from

the last limitations of Claim 1 and Claim 14:

                         Claim 1                                     Claim 14
                                                       “before receiving the input C/A
         “wherein the first predetermined              signals corresponding to the memory
         amount is determined based at least on        read operation at the module control
         signals received by the first data buffer     device, determining the first
         during one or more previous                   predetermined amount based at least
         operations”                                   on signals received by the first data
         (’506 Patent at 19:53–55)                     buffer”
                                                       (’506 Patent at 22:11–15)

       Micron points to two statements from Netlist’s IPR papers in which Netlist allegedly

equates the two limitations. First, Netlist wrote:

       Petitioner has not made a prima facie case that Hiraishi discloses . . . “the first
       predetermined amount is determined based at least on signals received by the first
       data buffer during one or more previous operations,” as required by independent
       claim 1 (referred to herein as the “strobe delay feature”). The same deficiency exists
       with respect to the method of claim 14, which also recites the strobe delay feature
       as follows: “delaying the first read strobe by a first predetermined amount to
       generate a first delayed read strobe,” and “before receiving the input C/A signals
       corresponding to the memory read operation at the module control device,
       determining the first predetermined amount based at least on signals received by
       the first data buffer.”




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Dkt. No. 109 at 9 (quoting Patent Owner Prelim. Resp., Dkt. No. 109-13 at 30; emphasis by

Micron). Second, Netlist wrote:

        Petitioner has failed to show that Hiraishi teaches or suggests the strobe delay
        feature—specifically that “the first predetermined amount [of delay to the read
        strobe] is determined based at least on signals received by the first data buffer
        during one or more previous operations,” as recited in claim 1 and reflected in the
        limitations of claim 14.

Id. (quoting Patent Owner Resp., Dkt. No. 109-12 at 32; emphasis by Micron). Thus, Netlist clearly

characterized the language of both claims as a “strobe delay feature” not taught by Hiraishi.

        Importantly, however, Netlist’s arguments were not based on the specific signal timing

recited in either Claim, but whether Hiraishi had any “strobe delay feature” at all, regardless of

timing. For example, Netlist argued the delay circuit allegedly disclosing the “strobe delay feature”

        is a circuit that is not disclosed as connected to any circuitry capable of providing
        any input that could alter the amount of delay applied by circuit 372 to the DQS
        received from the selector 332. Hence, . . . a POSITA would understand from
        Hiraishi’s disclosure that the delay circuit 372 applies a fixed phase shift, instead
        of a delay based on signals received by the buffer during a previous operation.

Patent Owner Prelim. Resp., Dkt. No. 109-13 at 32–33 (emphasis added). Similarly, in its

response under the heading “Hiraishi’s Read Leveling Circuit Does Not Control the Delay

Circuit,” Netlist stated:

        the delay applied by Hiraishi’s delay circuit 372 is fixed and is not controllable by
        the data register control circuit 320, and Hiraishi does not disclose any other control
        circuit in data buffer 300 . . . . As such, the Petitioner has failed to show that
        Hiraishi teaches or suggests the strobe delay feature—specifically that “the first
        predetermined amount [of delay to the read strobe] is determined based at least on
        signals received by the first data buffer during one or more previous operations,”
        as recited in claim 1 and reflected in the limitations of claim 14.




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Patent Owner Resp., Dkt. No. 109-12 at 32 (emphasis added; brackets in original). And at least

according to Netlist, even Samsung did not suggest any material differences between Claim 1 and

Claim 14. Id. at 32 n.5.

       Because making distinctions between the scope of the limitations in question was not

necessary to respond to Samsung’s argument, Netlist treated the limitations as similar for brevity,

which does not give rise to disclaimer on this record. Given that resolves the dispute, the Court

will give this term a “plain and ordinary meaning” construction.

V.     U.S. PATENT 10,949,339

       A.      Background

       According to the ’339 Patent, designing memory subsystems requires balancing memory

density, power dissipation, speed, and cost. ’339 Patent at 2:5–7. Adjusting one of these may

negatively affect the others. Id. at 2:7–12. For example, the ’339 Patent notes two ways of

increasing memory space: (1) an address decoding scheme, and (2) combining chip-select and

address signals “to increase the number of physically addressable memory spaces . . . .” Id. at 5:

15–25. But because both solutions add memory chips, the system outputs have a heavier load.

That, in turn, slows the system and increases the necessary power. Id. at 4:27–33. Moreover, it

results in uneven propagation delay, which can negatively affect internal timing of accessing

memory. Id. at 4:38–44. As examples, Figures 1–2 show prior-art systems in which differences in

trace lengths or complexity of the memory controllers affect system speed.

       As shown in Figure 3A (below), the ’339 Patent teaches arranging the memory devices 412

in multiple ranks A, B, C, D, and a module controller 430 configured to receive and register input

control signals from a memory controller 420. The address and control signals select one of the

multiple ranks to perform a read or write operation. In response, the module controller 430 outputs




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a set of control signals that drive data signals between the memory controller 420 and the selected

rank.




        Based on signals received from the control circuit 430, the data transmission circuits 416

selectively enable or disable access to the memory devices 412. For example, whereas a set of

control signals from the memory controller 420 may address two memory devices (e.g., 412A1 and

412B1), only one of those devices might be enabled depending on the state of the associated data

transmission circuit 4161. In FIG. 3A, the data transmission circuit 4161 enables or disables

memory devices 412A1 and 412C1 together and memory devices 412B1 and 412D1 together. See

generally ’339 Patent at 8:16–53.




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       B.      The “drive” terms (’339 Patent, Claims 1, 11, 19, 27)

             Netlist’s Construction                             Micron’s Construction
                                                 Adopts and applies the Court’s adoption of the
                                                 “fork- in-the-road” configuration and rejection
                                                 of the “straight-line” configuration to construe
                                                 “drive” to mean “enabling only one of the data
 to “drive” means “enabling only one of the data
                                                 paths while the other possible paths are
 paths while the other possible paths are
                                                 disabled,” i.e., “enable only one of the data
 disabled” (i.e., no further construction
                                                 paths for the respective byte-wise section of
 necessary)
                                                 the N-bit wide write data while the other
                                                 possible data paths for the same respective
                                                 byte-wise section of the N-bit wide write data
                                                 are disabled”

       Claim 1 recites a module controller and a plurality of byte-wise buffers, each of which has

a first side connected to data lines and a second side connected to physical memory. ’339 Patent at

19:40–52; see also id. at 21:66–22:5 (Claim 11); id. at 24:18–29 (Claim 19); id. at 26:17–26 (Claim

27). The claims also require logic configurable to enable a data path to “actively drive” or “drive”

write data from one side of the buffer to the other side:

                            “to actively drive a respective byte-wise section of the N-
            Claim 1
                            bit wide write data” (’339 Patent at 19:58–61)
                           “to actively drive a respective section of the N-bit wide
            Claim 11
                           write data” (’339 Patent at 22:2–3)
                           “to actively drive a respective section of the [first/second]
            Claim 19
                           N-bit wide data” (’339 Patent at 24:20–28)
                           “to drive the respective n-bit section of the write data”
            Claim 27
                           (’339 Patent at 26:8–9)

       In Samsung I, Netlist argued these “drive” terms should be given a “plain and ordinary

meaning” construction, whereas Samsung proposed a construction based on the fifth limitation of




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Claim 1 that it called a “fork in the road” approach. See Cl. Constr. Order, Dkt. No. 97-8 at 7.

Ultimately, the Court adopted that approach based on the specification and the prosecution history:

        A skilled artisan would understand “driving” data from one side of the buffer to the
        other means, when there are multiple paths in a buffer through which that data can
        be driven, enabling only one of the data paths while the other possible paths are
        disabled. Thus, “to drive” as used in these claims means “enabling only one of the
        data paths while the other possible paths are disabled.”

Id. at 10.

        Here, Netlist proposes the same construction, while Micron proposes modifying the

construction to “enable only one of the data paths for the respective byte-wise section of the N-bit

wide write data while the other possible data paths for the same respective byte-wise section of the

N-bit wide write data are disabled.” Micron urges this additional language is necessary because

Netlist will otherwise “remove the Court’s construction from the context of the claims” and argue,

despite express claim language to the contrary, (1) read data paths can satisfy this claim language,

Dkt. No. 109 at 11–12 (citing Samsung I Trial Tr., Dkt. No. 109-18 at 1373:7–21), and (2) the

recited “data path” can be less than a byte, id. at 12 (citing Samsung I Trial Tr., Dkt. No. 109-18 at

1333:14–21). Netlist frames the disputes similarly—whether “(1) the ‘other possible paths’ in the

Court’s prior construction are paths for read data, and (2) the “byte-wise data paths may be a half-

byte (i.e., four bits or a nibble) wide.” Dkt. No. 112 at 5.

        The parties agree the language of Claim 1 is representative of their dispute. Dkt. No. 97 at

9 n.2; Dkt. No. 109 at 10 n.4. The relevant limitations from that claim recite:

               a plurality of byte-wise buffers coupled to the PCB and configured
                   to receive the module control signals, wherein each respective
                   byte-wise buffer of the plurality of byte-wise buffers has a first
                   side configured to be operatively coupled to a respective set of
                   data signal lines, a second side that is operatively coupled to at
                   least one respective DDR DRAM device in each of the multiple



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                   N-bit-wide ranks via respective module data lines, and a byte-
                   wise data path between the first side and the second side,
                   wherein the each respective bytewise buffer is disposed on the
                   PCB at a respective position corresponding to the respective set
                   of the plurality of sets of data signal lines;
               wherein the each respective byte-wise buffer further includes logic
                  configurable to control the byte-wise data path in response to the
                  module control signals, wherein the byte-wise data path is
                  enabled for a first time period in accordance with a latency
                  parameter to actively drive a respective byte-wise section of the
                  N-bit wide write data associated with the memory operation
                  from the first side to the second side during the first time period;
                  and
               wherein the byte-wise data path includes first tristate buffers, and
                  the logic in response to the module control signals is configured
                  to enable the first tristate buffers to drive the respective byte-
                  wise section of the N-bit wide write data to the respective
                  module data lines during the first time period.

’339 Patent at 19:40–61.

       As to the first issue—whether the “other possible paths” in the Court’s prior construction

can be paths for read data when write data is being “driven”—they cannot. In Samsung I, the Court

reasoned:

       A skilled artisan would understand “driving” data from one side of the buffer to the
       other means, when there are multiple paths in a buffer through which that data can
       be driven, enabling only one of the data paths while the other possible paths are
       disabled. Thus, “to drive” as used in these claims means “enabling only one of the
       data paths while the other possible paths are disabled.”

Cl. Constr. Order, Dkt. No. 97-8 at 10. Netlist’s position requires an overly broad interpretation of

this reasoning—that “the other possible paths” could pertain to “data” moving the opposite

direction from the “driving” direction. “The other possible paths” are paths for the same data from




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the same “one side of the buffer” to the same “other” side of the buffer. The Court thus agrees with

Micron on this first issue. 4

        Regarding the second issue—whether the byte-wise data paths may be a half-byte (i.e., a

“nibble”) wide—the Court did not previously consider that question. Netlist does not appear to

dispute the plain meaning of “byte-wise” refers to a byte rather a nibble. Instead, it points to

Figures 3B and 4B as showing byte-wise sections of the N-bit wide data transferred to two 4-bit

memory devices rather than one 8-bit memory device. Dkt. No. 97 at 11. This is consistent with

the language of Claim 2, which requires the buffers to drive a first and second nibble of the byte-

wise section to a pair of DDR DRAM devices). See id. at 20:5–13.

        Clearly the plain language of the claims requires the respective data paths to be at least

byte-wise, but that does not prohibit an embodiment in which the memory devices at the end of

the data paths might have a less-than-byte-wise width, as shown in Figure 4B and as recited in

Claim 2. In other words, while Claim 1’s requirement of a byte-wise data path pertains to the

electrical connections from the circuits 416, a byte-wise data path can terminate at more than one

device. This is consistent with Micron’s construction, which the Court adopts: “enable only one of

the data paths for the respective byte-wise section of the N-bit wide write data while the other

possible data paths for the same respective byte-wise section of the N-bit wide write data are

disabled.”




4
 Netlist argues the prosecution history supports its position, but only cites to the Court’s prior
opinion for support without further explanation. See Dkt. No. 110 at 5 (citing Dkt. No. 97-8 at 9–
10).



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VI.    U.S. PATENTS 11,016,918 AND 11,232,054

       A.      Background

       These patents concern power management on memory modules. The claimed modules

include buck converters—a type of DC-to-DC power converter—that provide power to memory

devices. For example, Claim 1 of the ’918 Patent recites:

               1. A memory module comprising:
                  a printed circuit board (PCB) having an interface configured to
                      fit into a corresponding slot connector of a host system, the
                      interface including a plurality of edge connections
                      configured to couple power, data, address and control signals
                      between the memory module and the host system;
                  a first buck converter configured to provide a first regulated
                      voltage having a first voltage amplitude;
                  a second buck converter configured to provide a second
                     regulated voltage having a second voltage amplitude;
                  a third buck converter configured to provide a third regulated
                      voltage having a third voltage amplitude;
                  a converter circuit configured to provide a fourth regulated
                     voltage having a fourth voltage amplitude; and
                  a plurality of components coupled to the PCB, each component
                      of the plurality of components coupled to one or more
                      regulated voltages of the first, second, third and fourth
                      regulated voltages, the plurality of components comprising:
                  a plurality of synchronous dynamic random access memory
                     (SDRAM) devices coupled to the first regulated voltage, and
                  at least one circuit coupled between a first portion of the plurality
                       of edge connections and the plurality of SDRAM devices,
                       the at least one circuit operable to (i) receive a first plurality
                       of address and control signals via the first portion of the
                       plurality of edge connections, and (ii) output a second
                       plurality of address and control signals to the plurality of
                       SDRAM devices, the at least one circuit coupled to both the
                       second regulated voltage and the fourth regulated voltage,



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                       wherein a first one of the second and fourth voltage
                       amplitudes is less than a second one of the second and fourth
                       voltage amplitudes.

’918 Patent at 38:18–52. Claim 1 of the ’054 Patent is similar. See ’054 Patent at 39:66–40:4

(reciting, in Claim 16, “a voltage conversion circuit [comprising three buck converters] and

configured to provide a plurality of voltages”).

       The Court construed some of the now-disputed terms from these patents in Samsung I.

Netlist re-urges the constructions adopted by the Court in that proceeding, see generally Dkt. No.

97 at 12–18, whereas Micron proposes the construction urged by Samsung and incorporates

Samsung’s arguments by reference, see Dkt. No. 109 at 14. Seeing no new argument by the parties

relative to Samsung I, the Court adopts its previous reasoning and construction for those terms:

                       Term                                      The Court’s Construction

 “a second plurality of address and control
 signals”                                                Plain and ordinary meaning
 (ʼ918 Patent, Claims 1, 21)

 “dual buck converter”
 (ʼ918 Patent, Claims 2, 17, 28)                         “a buck converter with two regulated
 “dual-buck converter”                                   voltage outputs”
 (ʼ054 Patent, Claim 15)

 “first” / “second” / “third” / “fourth” “regulated
 voltages”; “first” / “second” / “third” / “fourth”
                                                         Plain and ordinary meaning
 “voltage amplitude”
 (ʼ918 Patent, Claim 1 and most other claims)

 “at least three regulated voltages”
                                                         Plain and ordinary meaning
 (ʼ054 Patent, Claims 1–15)

 “a memory module”
                                                         Limiting
 (ʼ918 Patent, all claims; ’054 Patent, all claims)




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       B.      “pre-regulated input voltage” / “input voltage” (‘’918 Patent, Claims 16, 30)

             Netlist’s Construction                             Micron’s Construction
                                                     plain and ordinary meaning, where “a pre-
 plain and ordinary meaning, (i.e., no further
                                                     regulated input voltage” is different from “an
 construction necessary)
                                                     input voltage”

       Claim 16 recites “[a] memory module comprising:”

               a printed circuit board (PCB) having an interface . . . including a
                  plurality of edge connections configured to couple power, data,
                  address and control signals between the memory module and the
                  host system;
               first, second, and third buck converters configured to receive a pre-
                    regulated input voltage and to produce first, second and third
                    regulated voltages, respectively;
               a converter circuit configured to reduce the pre-regulated input
                  voltage to provide a fourth regulated voltage, wherein the first,
                  second, third and fourth regulated voltages have first, second,
                  third, and fourth voltage amplitudes, respectively;
               . . . ; and
               a voltage monitor circuit configured to monitor an input voltage
                  received via a first portion of the plurality of edge
                  connections . . . .

’954 Patent at 39:53–40:12 (emphasis added).

       “The parties dispute whether the recited ‘a pre-regulated voltage’ must be different from

the separately recited ‘an input voltage.’” Dkt. No. 109 at 14. Citing CAE Screenplates Inc. v.

Heinrich Fiedler GmbH & Co. KG, 224 F.3d 1308, 1317 (Fed. Cir. 2000), Micron argues the

separate recitation of these limitations makes clear these terms are different. Dkt. No. 109 at 15. It

argues Netlist wrongly interprets the terms so they can be met with a single voltage signal line. Id.

at 16. Netlist, however, stresses “[t]he claim language requires an ‘input voltage’ that is ‘pre-

regulated’ to be the input to the conversion circuits, and also describes that the ‘input voltage’ is




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received from ‘a first portion of the plurality of edge connections.’” Dkt. No. 110 at 7 (citing ’918

Patent at 39:60–62, 40:7–13).

       The Court agrees with Netlist. The limitations in which these disputed terms appear are the

structural limitations of “buck converters,” “a converter circuit” and a “voltage monitor circuit,”

each of which is configured a certain way. That a buck converter is “configured to receive a pre-

regulated input voltage” while the “voltage monitor circuit” is “configured to monitor an input

voltage” does not without more exclude the same voltage from being supplied to both structures.

Accordingly, the Court rejects Micron’s requirement the “pre-regulated input voltage” is different

from the “input voltage,” and will construe this term to have a “plain and ordinary meaning.”

       C.      “converter circuit” (’918 Patent, all asserted claims)

             Netlist’s Construction                           Micron’s Construction
                                                   The “converter circuit” feature is subject to
                                                   § 112, ¶ 6, with the corresponding
                                                   functionality being the functions of:
                                                   (i) “provid[ing] a fourth regulated voltage
                                                   having a fourth voltage amplitude”;
                                                   (ii) “reduc[ing] the pre-regulated input
                                                   voltage to provide a fourth regulated
                                                   voltage”;
 Not subject to § 112, ¶ 6; plain and ordinary
                                                   (iii) “provid[ing] the fourth regulated
 meaning, i.e., a circuit for voltage conversion
                                                   voltage”; and
                                                   (iv) “reduc[ing] the pre-regulated voltage
                                                   input to provide the fourth regulated
                                                   voltage”.
                                                   The corresponding structure that is
                                                   “configured to” perform the recited functions
                                                   is a “converter circuit,” as described in the
                                                   ’918 patent at 29:18–64.




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        “Converter circuit” appears in Claims 1, 13, 16, 23, and 30 associated with various

functions:

                            a converter circuit configured to provide a fourth regulated
                Claim 1
                            voltage having a fourth voltage amplitude
                           wherein the power input voltage is coupled to the first,
             Claim 13
                           second, and third buck converters and the converter circuit
                           a converter circuit configured to reduce the pre-regulated
             Claim 16
                           input voltage to provide a fourth regulated voltage
                           a converter circuit configured to provide the fourth regulated
             Claim 23
                           voltage
                           a converter circuit configured to provide the fourth regulated
                           voltage [as recited in Claim 23] wherein the converter circuit
             Claim 30
                           is configured to reduce the pre-regulated voltage input to
                           provide the fourth regulated voltage

        Micron asserts this is a means-plus-function term and stresses the testimony of Netlist’s

expert during Samsung I as evidence this term does not connote sufficiently definite structure. Dkt.

No. 109 at 17. Netlist stresses “circuit” is a well-known term in electronics and the prefix

“converter” provides structural meaning. Dkt. No. 97 at 19–20.

        There is a rebuttable presumption that § 112 ¶ 6 does not apply when, as here, the limitation

does not use the word “means.” See Masco Corp., 303 F.3d at 1326. To rebut that presumption,

Micron must show, by a preponderance of the evidence, the limitation fails to recite sufficiently

definite structure. See Dyfan, LLC v. Target Corp., 28 F.4th 1360, 1370 (Fed. Cir. 2022) (“In the

absence of the word ‘means,’ Target bore the burden of demonstrating by a preponderance of the

evidence that the ‘system’ limitation in the wherein clause fails to recite sufficiently definite

structure.”).




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       Here, in addition to asserting “converter circuit” does not have sufficiently definite

structural meaning to a skilled artisan, Micron points to uses of “converter circuit” by Netlist it

contends show this is simply a functional term. For example, it points to trial testimony by Netlist’s

expert in Samsung I that “any circuit that converts a voltage is a converter circuit.” Dkt. No. 109

at 17 (quoting Trial Tr., Dkt. No. 109-2 at 416:3–5, 416:21–23). Micron also offers its expert’s

opinion that

       [t]he use of “converter circuit” in the asserted claims provides no guidance of specific
       structure to a POSITA who would understand the term ‘converter circuit’ in the asserted
       claims to be a generic term that encompasses any hardware, software, or combination that
       may perform the claimed functions of the converter circuit limitation of the asserted claims.
       In other words, the claim term “converter circuit” does not inform a POSITA of the
       structural characteristics of the claimed “converter circuit” that is configured to perform
       the claimed functions of the converter circuit limitation of the asserted claims.

Stone Decl., Dkt. No. 97-9 ¶ 51.

       This is not a means-plus-function term. Notably, Dr. Stone does not opine on whether the

term “converter circuit” in the abstract has a meaning to a skilled artisan. In other words, his

analysis appears limited to “the use of the term ‘converter circuit’ in the asserted claims.”

Moreover, two of the dictionaries submitted by Netlist define “converter.” See converter,

Chambers Dict. of Science & Tech., Dkt. No. 97-19 at 274 (“A circuit for changing ac to dc or vice

versa. Rating can be a few watts to megawatts.”); converter, Comprehensive Dict. of Elec. Eng’g,

Dkt. No. 97-20 at 148 (“a generic term used in the area of power electronics to describe a rectifier,

inverter, or other power electronic device that transforms electrical power from one frequency and

voltage to another”). While these definitions are not strictly for the term “converter circuit,” given

the technical area, they bolster the presumption that § 112 ¶ 6 does not apply. The Court will

therefore give this term a “plain and ordinary meaning” construction.




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       D.      “first circuit” (’054 Patent, Claim 1–13, 15)

            Netlist’s Construction                             Micron’s Construction
                                                   “a circuit that is different from a memory
plain and ordinary meaning
                                                   module controller”

       In the claims, “first circuit” appears only in Claims 1, 21, and 22. In their briefing, the

Parties identify the dispute as relating only to Claim 1–13 and 15. Of those claims, only Claims 5

and 7–13 recite a “controller,” either directly or through dependance from another claim. ’054

Patent at 38:66–39:3 (Claim 5), 39:16–20 (Claim 7), 39:22–29 (Claim 8).

       Micron calls its proposal “appropriate” because, without more, “first circuit” does not

connote structure. Dkt. No. 109 at 30. Thus, says Micron, a skilled artisan would look to the

specification, which describes the “first circuit” as something coupled to SDRAM and the first and

second regulated voltages. Id. Netlist, however, stresses “memory module controller” does not

appear in the specification or claims, and notes Micron has not explained how a “memory module

controller” differs from the “controller” recited in the claims. Dkt. No. 97 at 21.

       To start, the Court disagrees with Micron’s position that “circuit” does not connote structure

(or have a plain meaning). 5 See circuit, Chambers Dict. of Science & Tech. (2007), Dkt. No. 97-

19 at 224 (“An assembly of electronic (or other) components having some specific function, eg

amplifier, oscillator or gate”); circuit, Comprehensive Dict. of Elec. Eng’g (2005), Dkt. No. 97-20




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  Whether a term “connotes structure” is normally a means-plus-function dispute, but Micron does
not assert this term is governed by § 112 ¶ 6. Rather, Micron appears argue that “circuit” does not
have a plain meaning to a skilled artisan so the Court must look to the remainder of the intrinsic
record to resolve the term’s meaning. See, e.g., Telemac Cellular Corp. v. Topp Telecom, Inc., 247
F.3d 1316, 1319 (2001) (noting that when a term does not have an ordinary meaning or a meaning
clear from a plain reading of the claim, courts turn to the remaining intrinsic evidence, including
the written description, to help with construction of the term).



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at 112 (“a physical device consisting of an interconnection of elements . . . . For example, an

electric circuit may be constructed by interconnecting a resistor and a capacitor to a voltage

source.”); circuit, Dict. of Comput. (2008), Dkt. No. 97-21 at 78 (“The combination of a number

of electrical devices and conductors that, when interconnected to form a conducting path, fulfill

some desired function”).

       But assuming Micron’s “memory module controller” and the “controller” as recited in the

claims are the same, there is a basis for Micron’s position that the “first circuit” and “memory

module controller” are different things. These claims each recite a “controller” either directly or

by dependance on another claim. “Where a claim lists elements separately, ‘the clear implication

of the claim language’ is that those elements are ‘distinct component[s]’ of the patented invention.”

Becton, Dickinson & Co. v. Tyco Healthcare Group, LP, 616 F.3d 1249, 1254 (Fed. Cir. 2010)

(quoting Gaus v. Conair Corp., 363 F.3d 1284, 1288 (Fed. Cir. 2004)). The Court will therefore

give “first circuit” a “plain and ordinary meaning” while noting the “first circuit” and the recited

“controller’ are different elements.




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           E.     “at least one circuit” (’918 Patent, Claims 1, 21)

                Netlist’s Construction                              Micron’s Construction
                                                        The “at least one circuit” feature is subject to
                                                        §112, ¶ 6, with the corresponding functionality
                                                        being the functions of:
                                                        (i) “receiv[ing] a first plurality of address and
                                                        control signals via the first portion of the
Not subject to § 112(6); plain and ordinary
                                                        plurality of edge connections”;
meaning.
                                                        (ii) “output[ting] a second plurality of address
If subject to §112(6), then:
                                                        and control signals to the plurality of SDRAM
Function: (i) receive a first plurality of address      devices”;
and control signals via [the first/a second]
                                                        (iii) “receiv[ing] a first plurality of address and
portion of the plurality of edge connections,
                                                        control signals via a second portion of the
and (ii) output a second plurality of address and
                                                        plurality of edge connections”; and
control signals to the plurality of SDRAM
devices.                                        (iv) “output a second plurality of address and
                                                control signals to the plurality of SDRAM
Structures: As described in 21:14-23, 23:27-31,
                                                devices”.
23:41-24:8 or equivalents thereof.
                                                The corresponding structure that is “operable
                                                to” perform the recited functions is a “circuit
                                                that is different from a memory module
                                                controller,” as described in the ’918 patent at
                                                21:14–26:65, 29:33–54.

           This term is found in nearly identical limitations in Claim 1 and Claim 21. The former

recites:

                  at least one circuit coupled between a first portion of the plurality
                      of edge connections and the plurality of SDRAM devices, the at
                      least one circuit operable to (i) receive a first plurality of address
                      and control signals via the first portion of the plurality of edge
                      connections, and (ii) output a second plurality of address and
                      control signals to the plurality of SDRAM devices, the at least
                      one circuit coupled to both the second regulated voltage and the
                      fourth regulated voltage, wherein a first one of the second and
                      fourth voltage amplitudes is less than a second one of the second
                      and fourth voltage amplitudes.




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’918 Patent at 38:41–52 (emphasis added). Similarly, Claim 21 recites:

                at least one circuit coupled between the interface and the plurality
                    of SDRAM devices, the at least one circuit operable to receive a
                    first plurality of address and control signals via a second portion
                    of the plurality of edge connections and to output a second
                    plurality of address and control signals to the plurality of
                    SDRAM devices, the at least one circuit coupled to both the
                    second regulated voltage and the fourth regulated voltage,
                    wherein a first one of the second and fourth voltage amplitudes
                    is less than a second one of the second and fourth voltage
                    amplitudes.

Id. at 40:31–42 (emphasis added).

        Micron contends these are means-plus-function terms for three reasons. 6 First, the format

of the limitations is consistent with traditional means-plus-function claiming. Dkt. No. 109 at 21.

Second, “circuit” is a generic nonce term that does not provide any indication of structure. Id. at

21–22. Third, the remaining claim language fails to describe any structure for performing the

claimed function. Id. at 22.

        For a limitation that does not use the word “means,” the party asserting § 112(6) bears the

burden of showing, by a preponderance of the evidence, the limitation fails to recite sufficiently

definite structure. See Dyfan, 28 F.4th at 1370 (“In the absence of the word ‘means,’ Target bore

the burden of demonstrating by a preponderance of the evidence that the ‘system’ limitation in the

wherein clause fails to recite sufficiently definite structure.”).

        Here, Micron proffers its expert’s opinion that “[t]he use of ‘at least one circuit’ in [the

claims] provides no guidance of specific structure to a POSITA who would understand the term


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  Based on Micron’s proposed “corresponding structure” for this term, its goal seems to be clari-
fying that the “at least one circuit” is different from the “memory module controller” in line with
its proposed construction for “first circuit” in the ’054 Patent.



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‘at least one circuit.’” Stone Decl., Dkt. No. 97-9 ¶ 55. And “the remaining claim language

specifies merely additional functions that the claimed ‘at least one circuit’ be configured to

perform.” Id. ¶ 56. But Stone provides no analysis of how a skilled artisan would interpret what

he calls the “additional functions,” or why the “additional functions” would not convey sufficient

additional structure to a skilled artisan. See id.

        “When the structure-connoting term ‘circuit’ is coupled with a description of the circuit’s

operation, sufficient structural meaning generally will be conveyed to persons of ordinary skill in

the art, and § 112 P 6 presumptively will not apply.” Linear Tech. Corp. v. Impala Linear Corp.,

379 F.3d 1311, 1320 (Fed. Cir. 2004). Here, the claim language suggests additional structure. A

skilled artisan would at least understand the “at least one circuit” includes the structure to receive

and transmit address and control lines. Moreover, the “at least one circuit” must have the structure

to accept the second and fourth regulated voltages. Yet Stone does not address these aspects of the

limitation’s language with any specificity and fails to explain why this structure would not be

known to a skilled artisan. The Court thus concludes Micron has not shown, by a preponderance

of the evidence, the limitation fails to connote sufficiently definite structure.




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      F.       “controller” (’918 Patent, Claims 12, 18–19, 25–26; ’054 Patent, Claims 5, 7–
               13, 16–17, 23–25, 29–30)

               Not subject to § 112(6) and not indefinite; plain and ordinary meaning.
               To the extent that “controller” is a § 112(6) term, the function and corresponding
               structure vary for each claim, contrary to Micron’s attempt to aggregate all
  Netlist’s
               functions into the term.
Construction
               Structures: ASIC, PLD, CPLD, FPGA, custom- designed semiconductor device
               as described in 23:1–27, 24:35–37, 25:8–31, 29:33–54, 32:49–51 or equivalents
               thereof.
               ’918 Patent
               The “controller” feature is subject to § 112, ¶ 6, with the corresponding
               functionality being the functions of:
               (i) “receiv[ing] the trigger signal, wherein, in response to the trigger signal, the
               controller performs a write operation to the non-volatile memory”;
               (ii) “receiv[ing] the signal, wherein the controller executes a write operation in
               response to the signal”; and
               (iii) “receiv[ing] the signal, wherein, in response to the signal, the controller
               executes a write operation”.
               The corresponding structure that is “configured to” perform the recited functions
               is a “controller that is different from the at least one circuit and the voltage
               monitor circuit and the one or more registers,” as described in the ’918 patent at
 Micron’s
               21:14–26:65, 29:33–54.
Construction
               ’054 Patent
               The “controller” feature is subject to § 112, ¶ 6, with the corresponding
               functionality being the functions of:
               (i) “perform[ing] one or more operations including a write operation to transfer
               data to non-volatile memory” “in response to the trigger signal”; and
               (ii) “perform[ing] one or more operations in response to the voltage monitor
               circuit detecting an amplitude change in the input voltage, and wherein the one
               or more operations include a write operation to transfer data into non-volatile
               memory.”
               The corresponding structure that is “configured to” perform the recited functions
               is a “controller that is different from the first circuit and the voltage monitor
               circuit,” as described in the ’054 patent at 21:14–26:65, 29:33–54.




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          The “controller” limitations are recited various ways. Some claims recite “a controller

configured to receive the trigger signal, wherein, in response to the trigger signal, the controller

performs a write operation to the non-volatile memory.” ’918 Patent at 39:34–36 (Claim 12); see

also id. at 42:3–5 (reciting, in Claim 25, “a controller coupled to the voltage monitor circuit;

wherein, in response to the trigger signal, the controller is configured to perform one or more

operations including a write operation to transfer data to non-volatile memory”). Other claims

recite:

                 a controller coupled to the PCB, the controller including a voltage
                     monitor circuit configured to monitor an input voltage received
                     from a second set of edge connections of the plurality of edge
                     connections, wherein, in response to the voltage monitor circuit
                     detecting a power threshold condition, the voltage monitor
                     circuit transmits a signal to one or more portions of the
                     controller.

’054 Patent at 39:22–29 (Claim 8); see also id. at 40:13–20 (Claim 16)

          Asserting this is a means-plus-function term, Micron makes similar arguments to those it

made with respect to “at least one circuit”: (1) the various forms of the limitations are consistent

with traditional means-plus-function claiming; (2) “controller” is a nonce term that does not

provide any indication of structure; and (3) the remaining claim language fails to describe any

structure for performing the claimed function. Dkt. No. 109 at 22. For support, Micron proffers its

expert’s opinion that:

                 The use of “controller” in th[e] claims provides no guidance of specific
                 structure to a POSITA who would understand the term “controller” . . . to
                 be a generic term that encompasses any hardware, software, or combination
                 that may perform the claimed functions of the controller limitation . . . . In
                 other words, the claim term “controller” does not inform a POSITA of the
                 structural characteristics of the claimed “controller” that is configured to
                 perform the claimed functions . . . . of the controller limitation of claims 12,




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               18–19, and 25–26 of the ’918 patent and claims 5, 7–13, 16–17, 23–25, and
               29–30 of the ’054 patent.

               . . . the remaining claim language specifies merely additional functions that
               the claimed “controller” be configured to perform. None of this
               language . . . provides any indication of a structure or category of structures
               narrowing the understanding of a POSITA that any hardware, software, or
               combination could be used to perform the claimed functions of the
               controller limitation.

Stone Decl., Dkt. No. 97-9 ¶¶ 59–60.

       This is not a means-plus-function term. For one, Micron’s arguments about “controller”

being a nonce term are not persuasive. “Controller” in the context of this patent clearly connotes a

well-known class of structures. Micron points to Incom Corp. v Radiant RFID, LLC, No. 1-17-

CV-009-LY, 2018 WL 4690934 (W.D. Tex. Sept. 28, 2018), for support, but Incom’s patent did not

concern the electronic arts. Instead, the relevant claim recited “a tag orientation controller adapted

to keep [a remotely readable] tag with its length extending substantially horizontally and extending

lateral to the human user when said tag suspension is in use coupling the tag to the human user[.].”

U.S. Patent 7,336,185 at 5:37–40. Because, in part, the phrase “tag orientation controller” did not

appear in the specification, the court ultimately construed the term as a means-plus-function term

with the corresponding structure as “a tag container snugly held within a second pouch of the

holder.” Incom, 2018 WL 4690934, *6. Micron’s reliance on Incom is questionable given the

disparate levels of skill applicable to the two patents and the obviously different contexts in which

“controller” is used.

       Moreover, as with his opinion regarding “at least one circuit,” Dr. Stone fails to explain

why the “additional functions” would not convey sufficient additional structure to a skilled artisan.

Linear Tech. Corp., 379 F.3d at 1320) (“when the structure-connoting term ‘circuit’ is coupled with




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a description of the circuit's operation, sufficient structural meaning generally will be conveyed to

persons of ordinary skill in the art, and § 112 P 6 presumptively will not apply”). He simply

concludes that to be the case. Accordingly, the Court concludes Micron has not shown, by a

preponderance of the evidence, the limitation fails to recite sufficiently definite structure and will

give this term a “plain and ordinary meaning” construction.

       G.      “first operable state” and “second operable state” (’054 Patent, Claims 4–7,
               11–12, 16–17, 23, 25)

             Netlist’s Construction                              Micron’s Construction
                                                    “state in which a controller and a non-volatile
                                                    memory subsystem are operatively decoupled
 “first operable state” is a “state in which the
                                                    (e.g., isolated) from a volatile memory
 memory module is operated before transition”
                                                    subsystem by at least one circuit,” or in the
                                                    alternative, indefinite
                                                    “state in which the volatile memory subsystem
                                                    is operatively coupled to the controller to allow
 “second operable state” is a “state in which
                                                    data to be communicated between the volatile
 the memory module is operated after
                                                    memory subsystem and the nonvolatile
 transition”
                                                    memory subsystem via the controller,” or in the
                                                    alternative, indefinite

       Generally, these terms appear in limitations requiring the transition of the memory module

from a “first operable state” to a “second operable state” in response to some transition signal. See,

e.g., ’054 Patent at 38:62–64 (reciting, in Claim 4, “wherein the memory module transitions from

a first operable state to a second operable state in response to the trigger signal”). The specification

never uses the phrases “first operable state” or “second operable state,” but does use the phrases

“first state” and “second state”:

       The memory system 1010 of certain embodiments is configured to be operated in
       at least two states. The at least two states can comprise a first state in which the
       controller 1062 and the non-volatile memory subsystem 1040 are operatively
       decoupled ( e.g., isolated) from the volatile memory subsystem 1030 by the at least



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        one circuit 1052 and a second state in which the volatile memory subsystem 1030
        is operatively coupled to the controller 1062 to allow data to be communicated
        between the volatile memory subsystem 1030 and the nonvolatile memory
        subsystem 1040 via the controller 1062. The memory system 1010 may transition
        from the first state to the second state in response to a trigger condition, such as
        when the memory system 1010 detects that there is a power interruption (e.g.,
        power failure or reduction) or a system hang-up.

’054 Patent at 24:60–25:7 (emphasis added). Micron stresses “[t]here is no other disclosure that

describes what is meant when the claims recite that a ‘memory module’ ‘transitions’ from a ‘first

operable state’ to a ‘second operable state’ ‘in response to” some trigger associated with the ‘input

voltage.’” Dkt. No. 109 at 29. Thus, argues Micron, if the disputed terms do not mean this, they

must be indefinite.

        In Netlist’s view, Micron’s position improperly limits “operable state” to a specific

embodiment. Dkt. No. 97 at 29. Netlist also accuses Micron of confusing breadth with

indefiniteness. Id. at 30.

        The Court agrees with Netlist. The Court sees no lexicography, which is essentially what

Micron seeks. Even assuming that the “operable states” of the claims are the first and second states

of the specification, the surrounding claim language and nature of the terms is sufficient to avoid

limiting the terms to the specific states mentioned in the specification. Regarding Micron’s

alternative “indefiniteness” position, it only argues there are no bounds to the claim. That, however,

presumes a skilled artisan both would not understand the meaning of “operable state” in the context

of the disclosure. Micron proffers no evidence on that point, and thus cannot carry its clear-and-

convincing burden. Accordingly, the Court adopts Netlist’s construction for these terms and

construes “first operable state” as “state in which the memory module is operated before transition”

and “second operable state” as “state in which the memory module is operated after transition.”




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VII.    CONCLUSION

                      Term                                     The Court’s Construction

 “electrical communication”
 (’060 Patent, Claims 1, 11, 20, 29; ’160 Patent,    Plain and ordinary meaning
 Claim 1)

 “driver size”
                                                     “driver physical size”
 (’160 Claim 1)

 Claim 7
                                                     Not indefinite as a mixed-class claim
 (’060 Patent)

 “one or more previous operations”
                                                     “one or more previous memory operations”
 (’506 Patent, Claims 1–3, 11, 15, 16)

 “determining”
                                                     Plain and ordinary meaning
 (’506 Patent, Claim 14)

 “to actively drive a respective byte-wise
 section of the N-bit wide write data”
 (’339 Patent, Claim 1)
 “to actively drive a respective section of the N-
 bit wide write data”                              “to enable only one of the data paths for the
 (’339 Patent, Claim 11)                           respective byte-wise section of the N-bit wide
                                                   write data while the other possible data paths for
 “to actively drive a respective section of the    the same respective byte-wise section of the N-
 [first/second] N-bit wide data”                   bit wide write data are disabled”
 (’339 Patent, Claim 19)
 “to drive the respective n-bit section of the
 write data”
 (’339 Patent, Claim 27)

 “a second plurality of address and control
 signals”                                            Plain and ordinary meaning
 (’918 Patent, Claims 1–3, 4-7, 9–13, 15, 21)




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                     Term                                    The Court’s Construction

 “dual buck converter”
 (ʼ918 Patent, Claims 2, 17, 28)                  “a buck converter with two regulated voltage
“dual-buck converter”                             outputs”
(ʼ054 Patent, Claim 15)
“first” / “second” / “third” / “fourth”
“regulated voltage”; “first” / “second” /
                                                  Plain and ordinary meaning
“third” / “fourth” “voltage amplitude”
(’918 Patent, all asserted Claims)
“at least three regulated voltages”
                                                  Plain and ordinary meaning
(’054, Claims. 1, 16, 24)
“a memory module”
(ʼ918 Patent, all Claims; ’054 Patent, all        Limiting
Claims)
“pre-regulated input voltage” / “input voltage”
                                                  Plain and ordinary meaning
(ʼ918 Patent, Claims 16, 30)
“converter circuit”                               Plain and ordinary meaning
(’918 Patent, all asserted claims)                Not governed by 35 U.S.C. § 112 ¶ 6
“first circuit”
                                                  Plain and ordinary meaning
(’054 Patent, Claim 1–13, 15)
“at least one circuit”                            Plain and ordinary meaning
(’918, Claims 1–3, 5-7, 9–13, 15, 21)             Not governed by 35 U.S.C. § 112 ¶ 6
“controller”
                                                  Plain and ordinary meaning
(’918, Claims. 12,18–19, 25–26; ’054 Patent,
                                                  Not governed by 35 U.S.C. § 112 ¶ 6
Claims 5,7–13, 16–17, 23–25, 29–30)
“first operable state” and “second operable       “first operable state”: “state in which the
state”                                            memory module is operated before transition”
(’054 Patent, Claims 4–7, 11–12, 16–17, 23,       “second operable state”: “state in which the
25)                                               memory module is operated after transition”

        The Court ORDERS each party not to refer, directly or indirectly, to its own or any other

party’s claim-construction positions in the presence of the jury. Likewise, the Court ORDERS the




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parties to refrain from mentioning any part of this opinion, other than the actual positions adopted

by the Court, in the presence of the jury. Neither party may take a position before the jury that

contradicts the Court’s reasoning in this opinion. Any reference to claim construction proceedings

is limited to informing the jury of the positions adopted by the Court.
         SIGNED this 3rd day of January, 2012.
       SIGNED this 21st day of October, 2023.




                                                     ____________________________________
                                                     ROY S. PAYNE
                                                     UNITED STATES MAGISTRATE JUDGE




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